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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

       In re: BELLO, NANCY                                            §    Case No. 15-13759-RAM
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Robert A. Angueira, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $156,104.00                          Assets Exempt: $4,479.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$4,478.04             Claims Discharged
                                                       Without Payment: $47,539.63

 Total Expenses of Administration:$3,021.96


         3) Total gross receipts of $     7,500.00       (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $7,500.00
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $191,017.00             $0.00              $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           3,021.96          3,021.96           3,021.96

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     53,099.00          30,410.45          30,410.45          4,478.04

                                          $244,116.00         $33,432.41        $33,432.41          $7,500.00
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on February 27, 2015.
  The case was pending for 14 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 04/18/2016                 By: /s/Robert A. Angueira
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                            UNIFORM                                $ AMOUNT
              DESCRIPTION
                                                                                           TRAN. CODE 1                            RECEIVED
     Undisclosed Pre-Petition Transfer to Juan Torres                                      1241-000                                  7,500.00


    TOTAL GROSS RECEIPTS                                                                                                            $7,500.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                            UNIFORM                                $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                           TRAN. CODE                                 PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED                CLAIMS                 CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form             ASSERTED               ALLOWED            PAID
                                                       CODE                6D)
 NOTFILED         Gateway of the Sea                   4110-000                     0.00          N/A                    N/A                     0.00

 NOTFILED         Bank Of America, N.a.                4110-000             162,671.00            N/A                    N/A                     0.00

 NOTFILED         Bank of America                      4110-000               28,346.00           N/A                    N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $191,017.00                  $0.00             $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                  CLAIMS                 CLAIMS           CLAIMS
                                                       TRAN.
                                                                      SCHEDULED               ASSERTED               ALLOWED            PAID
                                                       CODE
 Robert A. Angueira                                    2100-000            N/A                        1,500.00          1,500.00           1,500.00

 Robert A. Angueira                                    2200-000            N/A                          21.41             21.41                 21.41

 Robert A. Angueira, PA                                3110-000            N/A                        1,423.00          1,423.00           1,423.00




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 Robert A. Angueira, PA                  3120-000          N/A                       46.39             46.39       46.39

 Rabobank, N.A.                          2600-000          N/A                       10.00             10.00       10.00

 Rabobank, N.A.                          2600-000          N/A                       10.77             10.77       10.77

 Rabobank, N.A.                          2600-000          N/A                       10.39             10.39       10.39

 TOTAL CHAPTER 7 ADMIN. FEES                               N/A                  $3,021.96          $3,021.96    $3,021.96
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                              CLAIMS              CLAIMS                CLAIMS        CLAIMS
                                          TRAN.
                                                      SCHEDULED           ASSERTED              ALLOWED         PAID
                                          CODE
                                                    None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                       $0.00            $0.00        $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM       CLAIMS              CLAIMS
   CLAIM                                              SCHEDULED           ASSERTED               CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form        (from Proofs of        ALLOWED         PAID
                                          CODE             6E)                Claim)
                                                    None

 TOTAL PRIORITY UNSECURED                                        $0.00               $0.00            $0.00        $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM       CLAIMS              CLAIMS
   CLAIM                                              SCHEDULED           ASSERTED               CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form        (from Proofs of        ALLOWED         PAID
                                          CODE             6F)                Claim)
      1     Discover Bank                7100-000            2,731.00             3,063.39          3,063.39      451.09

      2     PYOD, LLC its successors and 7100-000            2,579.00             2,867.30          2,867.30      422.22
            assigns as assignee
      3     PYOD, LLC its successors and 7100-000            9,120.00             9,120.94          9,120.94     1,343.09
            assigns as assignee
      4     Midland Credit Management, 7100-000              2,032.00             2,458.25          2,458.25      361.99
            Inc as agent for
      5     Mohela/dept Of Ed            7100-000            3,707.00             8,282.39          8,282.39     1,219.61

      6     American Express Centurion   7100-000            4,260.00             4,618.18          4,618.18      680.04
            Bank
 NOTFILED   Gecrb/tjx Cos Dc             7100-000            3,664.00          N/A                    N/A            0.00

 NOTFILED   Dsnb Macys                   7100-000            2,020.00          N/A                    N/A            0.00

 NOTFILED   Mohela/dept Of Ed            7100-000            3,358.00          N/A                    N/A            0.00

 NOTFILED   Hsbc/bstby                   7100-000          unknown             N/A                    N/A            0.00



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 NOTFILED   Citibank Sd, Na        7100-000      11,601.00      N/A                   N/A           0.00

 NOTFILED   Mohela/dept Of Ed      7100-000         609.00      N/A                   N/A           0.00

 NOTFILED   Amex Dsnb              7100-000       4,489.00      N/A                   N/A           0.00

 NOTFILED   Chase                  7100-000       2,929.00      N/A                   N/A           0.00

 TOTAL GENERAL UNSECURED                        $53,099.00      $30,410.45        $30,410.45   $4,478.04
 CLAIMS




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                                                                                                                                                                              Exhibit 8


                                                                                  Form 1                                                                                      Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 15-13759-RAM                                                                 Trustee:         (290990)       Robert A. Angueira
Case Name:        BELLO, NANCY                                                            Filed (f) or Converted (c): 02/27/15 (f)
                                                                                          §341(a) Meeting Date:           04/08/15
Period Ending: 04/18/16                                                                   Claims Bar Date:                11/26/15

                               1                                          2                           3                         4                    5                    6

                     Asset Description                               Petition/              Estimated Net Value            Property             Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled         (Value Determined By Trustee,      Abandoned             Received by      Administered (FA)/
                                                                      Values              Less Liens, Exemptions,         OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                   Remaining Assets

 1        37 Gumbo Limbo Avenue, Key Largo, FL 33037,                   150,000.00                            0.00           OA                           0.00                       FA
          PARC

 2        Cash                                                                  5.00                          0.00                                        0.00                       FA

 3        Space Coast Credit Union Checking Acct No 8050                       60.00                          0.00                                        0.00                       FA

 4        Bank of America Checking Account ending in 2167                      19.00                          0.00                                        0.00                       FA

 5        Bank of America Money Market Savings 7721                             0.00                          0.00                                        0.00                       FA

 6        Citibank Checking Acct No ending in 3865                              0.00                          0.00                                        0.00                       FA

 7        Household Goods and Furniture                                       785.00                          0.00                                        0.00                       FA

 8        Debtors used clothes and shoes                                       60.00                          0.00                                        0.00                       FA

 9        Assorted costume jewelery                                            25.00                          0.00                                        0.00                       FA

10        Primeamerica 401 Retirement Plan SS53                           2,400.00                            0.00                                        0.00                       FA

11        2002 Ford F-150 Pick Up Truck                                   2,750.00                            0.00           OA                           0.00                       FA

12        Undisclosed Pre-Petition Transfer to Juan Torres (u)            7,500.00                        7,500.00                                    7,500.00                       FA

 12      Assets      Totals (Excluding unknown values)                 $163,604.00                     $7,500.00                                     $7,500.00                  $0.00



      Major Activities Affecting Case Closing:

                  9/30/15 - Debtor paid in full as per Settlement; Order Dated 10/15/15, Doc # 41. Claims bar date is on 11/26/15. Once all claims have been reviewed Trustee will
                  proceed to prepare TFR.
                  2. Juan Torres will pay the Trustee the total sum of $7,500.00 (the "Settlement Amount") to be paid by September 15, 2015.

      Initial Projected Date Of Final Report (TFR):      March 15, 2016                     Current Projected Date Of Final Report (TFR):          December 12, 2015 (Actual)




                                                                                                                                               Printed: 04/18/2016 12:45 PM     V.13.25
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                                                                                                                                                                                 Exhibit 9


                                                                                  Form 2                                                                                          Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:        15-13759-RAM                                                                     Trustee:            Robert A. Angueira (290990)
Case Name:          BELLO, NANCY                                                                     Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******3166 - Checking Account
Taxpayer ID #: **-***0188                                                                            Blanket Bond:       $129,177,000.00 (per case limit)
Period Ending: 04/18/16                                                                              Separate Bond: N/A

   1            2                        3                                         4                                                 5                   6                   7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From                  Description of Transaction                  T-Code              $                  $       Account Balance
09/08/15      {12}      Juan Torres for Nancy Bello         Settlement; Order Dated 10/15/15, Doc # 41.         1241-000              7,500.00                                   7,500.00
09/30/15                Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                      10.00              7,490.00
10/30/15                Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                      10.77              7,479.23
11/30/15                Rabobank, N.A.                      Bank and Technology Services Fee                    2600-000                                      10.39              7,468.84
02/12/16      101       Robert A. Angueira, PA              Dividend paid 100.00% on $1,423.00, Attorney        3110-000                                    1,423.00             6,045.84
                                                            for Trustee Fees (Trustee Firm); Reference:
02/12/16      102       Robert A. Angueira, PA              Dividend paid 100.00% on $46.39, Attorney for 3120-000                                            46.39              5,999.45
                                                            Trustee Expenses (Trustee Firm); Reference:
02/12/16      103       Robert A. Angueira                  Dividend paid 100.00% on $1,500.00, Trustee         2100-000                                    1,500.00             4,499.45
                                                            Compensation; Reference:
02/12/16      104       Robert A. Angueira                  Dividend paid 100.00% on $21.41, Trustee            2200-000                                      21.41              4,478.04
                                                            Expenses; Reference:
02/12/16      105       Discover Bank                       Dividend paid 14.72% on $3,063.39; Claim# 1; 7100-000                                            451.09              4,026.95
                                                            Filed: $3,063.39; Reference:
02/12/16      106       PYOD, LLC its successors and        Dividend paid 14.72% on $2,867.30; Claim# 2; 7100-000                                            422.22              3,604.73
                        assigns as assignee                 Filed: $2,867.30; Reference:
02/12/16      107       PYOD, LLC its successors and        Dividend paid 14.72% on $9,120.94; Claim# 3; 7100-000                                           1,343.09             2,261.64
                        assigns as assignee                 Filed: $9,120.94; Reference:
02/12/16      108       Midland Credit Management, Inc as   Dividend paid 14.72% on $2,458.25; Claim# 4; 7100-000                                            361.99              1,899.65
                        agent for                           Filed: $2,458.25; Reference:
02/12/16      109       Mohela/dept Of Ed                   Dividend paid 14.72% on $8,282.39; Claim# 5; 7100-000                                           1,219.61              680.04
                                                            Filed: $8,282.39; Reference:
02/12/16      110       American Express Centurion Bank     Dividend paid 14.72% on $4,618.18; Claim# 6; 7100-000                                            680.04                  0.00
                                                            Filed: $4,618.18; Reference:

                                                                                 ACCOUNT TOTALS                                       7,500.00              7,500.00               $0.00
                                                                                           Less: Bank Transfers                           0.00                  0.00
                                                                                 Subtotal                                             7,500.00              7,500.00
                                                                                           Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                       $7,500.00            $7,500.00




{} Asset reference(s)                                                                                                                         Printed: 04/18/2016 12:45 PM        V.13.25
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                                                                                                                                                                       Exhibit 9


                                                                          Form 2                                                                                       Page: 2

                                               Cash Receipts And Disbursements Record
Case Number:        15-13759-RAM                                                           Trustee:            Robert A. Angueira (290990)
Case Name:          BELLO, NANCY                                                           Bank Name:          Rabobank, N.A.
                                                                                           Account:            ******3166 - Checking Account
Taxpayer ID #: **-***0188                                                                  Blanket Bond:       $129,177,000.00 (per case limit)
Period Ending: 04/18/16                                                                    Separate Bond: N/A

   1            2                       3                                   4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                                  Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance

                             Net Receipts :        7,500.00
                                              ————————                                                                       Net             Net                   Account
                               Net Estate :       $7,500.00               TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                          Checking # ******3166                             7,500.00              7,500.00                0.00

                                                                                                                          $7,500.00            $7,500.00                 $0.00




{} Asset reference(s)                                                                                                               Printed: 04/18/2016 12:45 PM        V.13.25
